Case 21-32351 Document 846-12 Filed in TXSB on 12/03/21 Page 1 of 5




                 EXHIBIT 12
               Case 21-32351 Document 846-12 Filed in TXSB on 12/03/21 Page 2 of 5


Hughes, Patrick

From:                              Esmont, Joseph M. <jesmont@bakerlaw.com>
Sent:                              Sunday, November 14, 2021 4:03 PM
To:                                Frank Cottrell; Hughes, Patrick; Rose, Jorian L.; Green, Elizabeth A.; Mark Shapiro;
                                   Delaney, Michael T.
Cc:                                McDonald, Bill; Wyrick, Martha
Subject:                           RE: Limetree Bay Pushes Out Auction 3 Days to Nov. 15--Auction, lead bid etc
Attachments:                       Limetree Bay - Revised Form of APA - BH Draft.docx



EXTERNAL: Sent from outside Haynes and Boone, LLP

Pat,

Revised draft APA attached, which is still subject to our comments. I’m having some issues with my redlining software
but one will follow shortly.

From: Frank Cottrell <fcottrell@brileyfin.com>
Sent: Friday, November 12, 2021 11:49 AM
To: Hughes, Patrick <Patrick.Hughes@haynesboone.com>; Rose, Jorian L. <jrose@bakerlaw.com>; Green, Elizabeth A.
<egreen@bakerlaw.com>; Mark Shapiro <mshapiro@brileyfin.com>; Delaney, Michael T. <mdelaney@bakerlaw.com>;
Esmont, Joseph M. <jesmont@bakerlaw.com>
Cc: McDonald, Bill <Bill.McDonald@haynesboone.com>; Wyrick, Martha <Martha.Wyrick@haynesboone.com>
Subject: RE: Limetree Bay Pushes Out Auction 3 Days to Nov. 15--Auction, lead bid etc


[External Email: Use caution when clicking on links or opening attachments.]

Pat,

As committed to in hearing, we’ll post the lead bid - still moving right now.


                                  Frank D. Cottrell
                                  Director

                                  Email: fcottrell@brileyfin.com
                                  Direct: (713) 226-4723
                                  Mobile: (281) 725-8923
             www.brileyfin.com
               NASDAQ: RILY
                                  4400 Post Oak Pkwy, Suite 1400
                                  Houston, TX 77027

                                  VCard




                                                              1
                  Case 21-32351 Document 846-12 Filed in TXSB on 12/03/21 Page 3 of 5




©2021 Fortune Media IP Limited. All rights reserved. Used under license.




PLEASE VISIT <https://brileyfin.com/disclosures/> FOR LEGAL DISCLOSURES.


From: Hughes, Patrick <Patrick.Hughes@haynesboone.com>
Sent: Thursday, November 11, 2021 4:36 PM
To: Frank Cottrell <fcottrell@brileyfin.com>; Rose, Jorian L. <jrose@bakerlaw.com>; Green, Elizabeth A.
<egreen@bakerlaw.com>; Mark Shapiro <mshapiro@brileyfin.com>; Delaney, Michael T. <mdelaney@bakerlaw.com>;
Esmont, Joseph M. <jesmont@bakerlaw.com>
Cc: McDonald, Bill <Bill.McDonald@haynesboone.com>; Wyrick, Martha <Martha.Wyrick@haynesboone.com>
Subject: RE: Limetree Bay Pushes Out Auction 3 Days to Nov. 15--Auction, lead bid etc

[EXTERNAL]
Will a lead bid be noticed? Have not seen on the docket. I have some contested hearings Monday afternoon and a
deposition to handle Tuesday so trying to coordinate as I can if the auction drags Monday or gets pushed a day or
2. Thanks.




Patrick L. Hughes | Partner
patrick.hughes@haynesboone.com | (t) +1 713.547.2550 (m) +1 832.722.8210
From: Frank Cottrell <fcottrell@brileyfin.com>
Sent: Wednesday, November 10, 2021 3:22 PM
To: Hughes, Patrick <Patrick.Hughes@haynesboone.com>; Rose, Jorian L. <jrose@bakerlaw.com>; Green, Elizabeth A.
<egreen@bakerlaw.com>; Mark Shapiro <mshapiro@brileyfin.com>; Delaney, Michael T. <mdelaney@bakerlaw.com>;
Esmont, Joseph M. <jesmont@bakerlaw.com>
Cc: McDonald, Bill <Bill.McDonald@haynesboone.com>; Wyrick, Martha <Martha.Wyrick@haynesboone.com>
Subject: RE: Limetree Bay Pushes Out Auction 3 Days to Nov. 15--Auction, lead bid etc

EXTERNAL: Sent from outside Haynes and Boone, LLP

Pat,

Copying @Delaney, Michael T.and @Esmont, Joseph M. who I am meeting w/ this evening to discuss APA’s.

Re: addl. categories, we are referencing catalyst and man camp – both items discussed at length w/ your commercial
team and they have been aware we are courting specialized groups interested in these.

                                                                           2
                  Case 21-32351 Document 846-12 Filed in TXSB on 12/03/21 Page 4 of 5
With everything submitted up to this time, doesn’t look like we’ll be designating a stalker on this and the procedures
don’t require sharing non-stalker APA’s.

Definitely trying to be in position Sunday as opposed to Monday morning,


                                          Frank D. Cottrell
                                          Director

                                          Email: fcottrell@brileyfin.com
                                          Direct: (713) 226-4723
                                          Mobile: (281) 725-8923
                www.brileyfin.com
                  NASDAQ: RILY
                                          4400 Post Oak Pkwy, Suite 1400
                                          Houston, TX 77027

                                          VCard




©2021 Fortune Media IP Limited. All rights reserved. Used under license.




PLEASE VISIT <https://brileyfin.com/disclosures/> FOR LEGAL DISCLOSURES.


From: Hughes, Patrick <Patrick.Hughes@haynesboone.com>
Sent: Wednesday, November 10, 2021 2:46 PM
To: Rose, Jorian L. <jrose@bakerlaw.com>; Green, Elizabeth A. <egreen@bakerlaw.com>; Mark Shapiro
<mshapiro@brileyfin.com>; Frank Cottrell <fcottrell@brileyfin.com>
Cc: McDonald, Bill <Bill.McDonald@haynesboone.com>; Wyrick, Martha <Martha.Wyrick@haynesboone.com>
Subject: FW: Limetree Bay Pushes Out Auction 3 Days to Nov. 15--Auction, lead bid etc

[EXTERNAL]
LBT team—know there is a lot going on. We have not had engagement on the specifics of the PSA but also wanted to
understand the process since the auction is next Monday.

-Bidder categories? Jimmy mentioned in the hearing there were 2 going concern and several liquidation bidders. In
order for bidders to understand what they are bidding against, are you contemplating 22 categories and do you plan to
share the lead bid PSAs in advance?

-Deposit. We have requested stalker status in our bid. If not the case please let me know so we can decide on sending
the bid deposit tomorrow.

                                                                           3
                    Case 21-32351 Document 846-12 Filed in TXSB on 12/03/21 Page 5 of 5
-Auction rules. Presume you all are working on them, but will they be emailed out Sunday or are you expecting to share
Monday morning?

Thanks.



Patrick L. Hughes | Partner
patrick.hughes@haynesboone.com | (t) +1 713.547.2550 (m) +1 832.722.8210
From: Hughes, Patrick <Patrick.Hughes@haynesboone.com>
Sent: Wednesday, November 10, 2021 10:08 AM
To: Berry, Lawrence <alb@riverway.us>; Boyd, Butch <butchboyd@butchboydlawfirm.com>; Fulghum, Tonja
<tfulghum@riverway.us>; Hughes, Patrick <Patrick.Hughes@haynesboone.com>; McDonald, Bill
<Bill.McDonald@haynesboone.com>; Salehi, Bobby <Bobby.Salehi@lonestarports.com>; Stone, Jeremy
<jeremystone@butchboydlawfirm.com>; Wisniewski, Peter <pwisniewski@riverway.us>; Wyrick, Martha
<Martha.Wyrick@haynesboone.com>
Subject: Limetree Bay Pushes Out Auction 3 Days to Nov. 15--FYI as just filed




CONFIDENTIALITY NOTICE: This electronic mail transmission is confidential,
may be privileged and should be read or retained only by the intended
recipient. If you have received this transmission in error, please
immediately notify the sender and delete it from your system.



PLEASE VISIT <https://brileyfin.com/disclosures/> FOR LEGAL DISCLOSURES.




CONFIDENTIALITY NOTICE: This electronic mail transmission is confidential,
may be privileged and should be read or retained only by the intended
recipient. If you have received this transmission in error, please
immediately notify the sender and delete it from your system.



PLEASE VISIT <https://brileyfin.com/disclosures/> FOR LEGAL DISCLOSURES.




This email is intended only for the use of the party to which it is
addressed and may contain information that is privileged,
confidential, or protected by law. If you are not the intended
recipient you are hereby notified that any dissemination, copying
or distribution of this email or its contents is strictly prohibited.
If you have received this message in error, please notify us immediately
by replying to the message and deleting it from your computer.

Any tax advice in this email is for information purposes only. The content
of this email is limited to the matters specifically addressed herein
and may not contain a full description of all relevant facts or a
complete analysis of all relevant issues or authorities.

Internet communications are not assured to be secure or clear of
inaccuracies as information could be intercepted, corrupted, lost,
destroyed, arrive late or incomplete, or contain viruses. Therefore,
we do not accept responsibility for any errors or omissions that are
present in this email, or any attachment, that have arisen as a result
of e-mail transmission.


                                                                             4
